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            Exhibit B
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No          IP         Port         Client         Hit Date UTC                           File Name                                           File Hash                        ISP         Region          City        Province
 1   67.161.217.240    6881   libtorrent 1.2.0 2019-07-03 07:40:38    Mechanic Resurrection (2016) 720p BrRip x264 - VPPV SHA1: B4A81D27B29589DD704A84498780ED183F12EB69   Comcast Cable   Utah     Salt Lake City     Salt Lake
 2   73.52.144.219    57459   [unknown Client] 2019-06-16 20:07:14    Mechanic Resurrection (2016) 720p BrRip x264 - VPPV SHA1: B4A81D27B29589DD704A84498780ED183F12EB69   Comcast Cable   Utah     Salt Lake City     Salt Lake
 3   98.202.151.19    59925   libtorrent 1.2.0 2019-05-22 02:51:30    Mechanic Resurrection (2016) 720p BrRip x264 - VPPV SHA1: B4A81D27B29589DD704A84498780ED183F12EB69   Comcast Cable   Utah     Salt Lake City     Salt Lake
 4   174.52.89.220    45942   [unknown Client] 2019-04-21 00:09:57    Mechanic Resurrection (2016) 720p BrRip x264 - VPPV SHA1: B4A81D27B29589DD704A84498780ED183F12EB69   Comcast Cable   Utah     Salt Lake City     Salt Lake
 5   73.20.113.39     56166   qBittorrent 4.1.2 2019-03-27 15:32:03   Mechanic Resurrection (2016) 720p BrRip x264 - VPPV SHA1: B4A81D27B29589DD704A84498780ED183F12EB69   Comcast Cable   Utah     Midvale            Salt Lake
 6   24.11.52.180     47774   [unknown Client] 2019-03-17 01:27:17    Mechanic Resurrection (2016) 720p BrRip x264 - VPPV SHA1: B4A81D27B29589DD704A84498780ED183F12EB69   Comcast Cable   Utah     Ogden              Weber
 7   73.228.70.209    50321   [unknown Client] 2019-02-24 23:07:48    Mechanic Resurrection (2016) 720p BrRip x264 - VPPV SHA1: B4A81D27B29589DD704A84498780ED183F12EB69   Comcast Cable   Utah     Saratoga Springs   Utah
